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   Exhibit - A - Emails between Remaining Petitioning Creditors and Stephen Stern Page 1 of 8

Stephen Stern

From:                              Jon Hager <pufferboater@gmail.com>
Sent:                              Friday, July 26, 2019 3:58 PM
To:                                Stephen Stern
Cc:                                Ronald Earley; Ken Kayser
Subject:                           Re: Tagnetics - Potential Settlement



Stephen,

I will clarify that we agree to the terms you set forth in your last email and represented below.

Key Terms:

Payment of $90,000 total ($30,000 each) within three days of a fully executed agreement.

The remaining schedule of payments as you proposed below, except in 12 and 18 months instead of 6 and 12 months.

Full mutual releases (no carve outs)

Dismissal/withdrawal of claims by each of you to be filed within one day of receiving payment




On Fri, Jul26, 2019 at 3:56PM Jon Hager <pufferboater@gmail.com> wrote:
 Stephen

Mr. Earley is discussing this with the court at this moment. I am responding for Kayser, Earley and Hager saying we
agree to the terms put forth as documented above.

On Fri, Jul26, 2019 at 3:27PM Stephen Stern <Stern@kaganstern.com> wrote:
 Ron, Ken, and Jon:

 Below sets forth the terms of the agreement we reached by phone. Each of you please reply confirming agreement to
 these terms and then I need you to initiate a call with the court to advise of the settlement (it makes no sense for any
 of us to have to show up at court on Monday now that we have an agreement in place that will be documented more
 thoroughly in a settlement agreement. We can work on the written settlement agreement over the weekend.

  Key Terms:

  Payment of $90,000 total ($30,000 each) within three days of a fully executed agreement.

 The remaining schedule of payments as you proposed below, except in 12 arid 18 months instead of 6 and 12 months.

  Full mutual releases (no carve outs)

 Dismissal/withdrawal of claims by each of you to be filed within one day of receiving payment

 I believe this captures the key terms we discussed. Please confirm.

                                                                                                              EXHIBIT

                                                                                                                  A
                                                             1
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Exhibit - A - Emails between Remaining Petitioning Creditors and Stephen Stern Page 2 of 8
Stephen

Get Outlook for iDS

From: Stephen Stern <Stern@kaganstern.com>
Sent: Friday, July 26, 2019 8:24AM
To: Ronald Earley
Cc: Ken Kayser; ctravlr@comcast.net; Robert R. Kracht (rrk@mccarthylebit.com); Nicholas R. Oleski
(nro@mccarthylebit.com); DouglasS. Draper (ddraper@hellerdraper.com); Leslie Collins; Jonathan Kagan
Subject: Re: Tagnetics- Potential Settlement

Ron:

While we appreciate your logic around the $90k number, you are miscalculating the company's situation. We had
hoped to negotiate with you outside of court on a settlement while the parties pursued arbitration, as the terms of
your contracts require, but the court ruled against that. The company does not have an ability to raise another $90k+
in the near term.

Now, unfortunately, the options to avoid substantial risk on both sides is very limited. If the three of you prevail on
Monday, your claims will be worthless, and Ken and Bob (as well as S-Tek and counsel for KVL and S-Tek) will have to
return the money they received last week. lfTagnetics prevails, the company will move to require that you pay all of
Tagnetics' attorneys' fees and litigation costs in this matter, which are significant and growing by the day.

Tagnetics (and I) cannot understand why each of you are pursuing a course of action that essentially guarantees you
will not get paid the amounts you claim you are owed. The company has made a reasonable proposal. I would like to
hear back from each of you on the company's most recent proposal (Ken and Jon, I have not heard back from you and
would like to know your position as well).

As before, in light of the risks involved, I suggest you seek advice from bankruptcy counsel. The path you have chosen
seems counterproductive and contrary to the outcome you claim to seek.

Stephen

Get Outlook for iDS

From: Ronald Earley <ronald.earley1@gmail.com>
Sent: Thursday, July 25, 2019 1:25 PM
To: Stephen Stern
Cc: Ken Kayser; ctravlr@comcast.net; Robert R. Kracht (rrk@mccarthylebit.com); Nicholas R. Oleski
(nro@mccarthylebit.com); DouglasS. Draper (ddraper@hellerdraper.com); Leslie Collins; Jonathan Kagan
Subject: Re: Tagnetics- Potential Settlement

Stephen,

They raised $90,000 for the first settlement, they should be able to find another $90,000 for us. Here is my counter
proposal·
                            Ronald E Earley             Kenneth W Kayser           Jon Hager
 Initial Payment            $30,000                     $30,000                    $30,00
 Second payment 6 mo.       $30,000                     $30,000                    $30,000
 Third payment 12 mo.       $30,000                     $30,000                    $30,000



                                                          2
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        Exhibit - A - Emails between Remaining Petitioning Creditors and Stephen Stern Page 3 of 8
         Balance as a note to be     $96,980                  $61,582                   $58,144
         paid upon liquidity
         event
                                     $186,980                 $151,582                  $148,144

        Best regards,
        Ron Erley
        Cell: 937-609-2825
!   1

        On Thu, Jul 25, 2019 at 12:42 PM Stephen Stern <Stern@kaganstern.com> wrote:
         Ron:

        It seems silly- and, quite frankly, odd- to simply cut off negotiations. If there is a counteroffer you would like
        Tagnetics to consider, please send it and I will forward it to the company for consideration. Continuing down this
        path essentially guarantees that you, Ken, and Jon do not receive any money and each of you are at risk for having to
        pay money (and the money that Ken received last week in settlement through KVL is subject to a preference and will
        have to be returned if the court imposes a bankruptcy on the company).

         I look forward to your response.

        Stephen

        Get Outlook for iOS

        From: Ronald Earley <ronald.earley1@gmail.com>
        Sent: Wednesday, July 24, 2019 7:43:48 PM
        To: Stephen Stern <Stern@kaganstern.com>
        Cc: Ken Kayser <drkwkayser@gmail.com>;ctravlr@comcast.net <ctravlr@comcast.net>; Robert R. Kracht
        (rrk@mccarthylebit.com) <rrk@mccarthylebit.com>; Nicholas R. Oleski (nro@mccarthylebit.com)
        <nro@mccarthylebit.com>; DouglasS. Draper (ddraper@hellerdraper.com) <ddraper@hellerdraper.com>; Leslie
        Collins <lcollins@hellerdraper.com>; Jonathan Kagan <kagan@kaganstern.com>
        Subject: Re: Tagnetics- Potential Settlement

        Stephen,

        No chance.

        Look forward to meeting you on Monday.

        Ron Earley
        Cell: 937-609-2825

        Sent from my iPhone

        On Jul24, 2019, at 5:56PM, Stephen Stern <Stern@kaganstern.com> wrote:

                FOR SETILEMENT PURPOSES ONLY

                Ron, Ken, and Jon:

                Thank you for the revised demand. This structure is more in line with what Tagnetics thinks is
                feasible, but the initial payment is way too high for a cash strapped company. As you are aware,

                                                                3
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      Tagnetics just made a $90,000 payment to settle the other claims in this case and its ability to make
      substantial up front payments along the lines you proposed is not realistic. Instead, Tagnetics
      proposes the following:

      Initial payment of $5,000 (not $50,000) to each of you within five calendar days of you dismissing
      your claims. [This agreement is contingent on the court accepting your motions to dismiss]. The
      remaining $45,000 would be rolled to the final scheduled payment to each of you.

      The remainder of the payment schedule after the initial payment you proposed is acceptable,
      provided that payments are contingent on Tagnetics closing the 7 figure investment the company's
      counsel (Taft) is in advanced negotiations over (while the company has an executed term sheet, we
      can work on the terminology to make the obligation around the agreement to pay more definite). If
      the revenue or investment is not received in time when a payment is due, the payment would be
      deferred, not permanently excused. We will include a reporting mechanism so you are informed of
      the status of Tagnetics' financial position and whether the payment(s) is due. The financial
      information that is disclosed would be kept confidential.

      For clarification, and again why I encourage each of you to seek your own legal advice, by continuing
      down the path of the bankruptcy proceeding, I believe one of two outcomes is guaranteed to
      happen, neither of which is good for the three of you. One outcome is you prevail, in which case the
      company is forced into bankruptcy and you get nothing. Also, the $90,000 received last week would
      have to be returned because it was paid within 90 days of a bankruptcy. The other outcome is
      Tagnetics prevails, in which case Tagnetics will promptly file a fee petition to collect all the attorneys'
      fees and litigation expenses it incurred in this litigation (in other words, you not only get nothing
      from Tagnetics, you have to pay Tagnetics). The fair plan we propose allows each of you to collect
      some money immediately, and the realistic possibility of collecting more than six figures in total
      following Taft closing the current investment or the company being sold.

      Lastly, the company believes it is in its best place commercially in the history of the
      company. Tagnetics welcomes you to review the business of the company with management as you
      make your decision. Tagnetics and I cannot understand why you would want to hurt the company,
      your partners, and yourselves. Tagnetics encourages you to contact management if you would like to
      discuss.

      Please let me know your thoughts. As you know, time is short and we would need time to draft an
      agreement that works and everyone signs if we are going to avoid a trial.

      Stephen

      Get Outlook for iOS

      From: Ronald Earley <ronald.earley1@gmail.com>
      Sent: Tuesday, July 23, 2019 1:34PM
      To: Stephen Stern
      Cc: Ken Kayser; ctravlr@comcast.net; Robert R. Kracht (rrk@mccarthylebit.com); Nicholas R. Oleski
      (nro@mccarthylebit.com); DouglasS. Draper (ddraper@hellerdraper.com); Leslie Collins; Jonathan
      Kagan
      Subject: Re: Tagnetics- Potential Settlement

      Stephen,

      Here is our offer after your e-mail this morning. Let me know if there is any interest.

                                                         4
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                                     Ronald E Earley              Kenneth W Kayser              Jon Hager
       Initial Payment               $50,000                      $50,000                       $50,000
       Second payment 6 mo.          $25,000                      $25,000                       $25,000
       Third payment 12 mo.          $25,000                      $25,000                       $25,000
       Balance as a note to be       $86,980                      $51,582                       $48,144
       paid upon liquidity
       event
                                     $186,980                     $151,582                      $148,144

      On Tue, Jul 23, 2019 at 10:46 AM Stephen Stern <Stern@kaganstern.com> wrote:
       FOR SETTLEMENT PURPOSES ONLY

       Ken, Ron, and Jon:

       I am in receipt of your demand to resolve the litigation involving Tagnetics. While I and the
       Tagnetics team appreciate the overture to try to reach a negotiated resolution, the demand you put
       forward is not realistic.

       As you know, the company is short on cash at the moment and cannot afford payments along the
       lines of what you proposed. A more realistic structure would involve the following: a modest up
       front payment, then a schedule of payments based on the company's revenue/cash position to be
       evaluated each quarter (until the total amount agreed upon is paid). We can include a
       buyout/equity event provision as well. We also can include a default judgement provision if
       Tagnetics fails to cure a missed payment that is properly due based on the payment terms {this last
       provision is intended to demonstrate in part that Tagnetics is serious about a resolution and is not
       trying to jerk you around as you incorrectly suspect it is).

       Insisting on any other structure than what I have outlined above all but assures that we proceed
       with the bankruptcy proceeding. And, if you actually prevail, all that means is the company is placed
       in bankruptcy and you do not receive any payment whatsoever (or, if you receive any payment, it is
       likely to be nominal at most). Plus, the payments that were made pursuant to the settlement
       agreement last week will be subject to a preference and they will need to be returned. Thus,
       proceeding down this path does not achieve your desired outcome of you (or any of the other
       settling parties) getting paid.

       Furthermore, you should be aware that Tagnetics intends to seek recovery of the fees and costs it
       incurred in this litigation if it prevails on the motion to dismiss or if it prevails at trial. In other words,
       there is a risk that you will have to pay money at the end of the day. You do not need to take my
       word about these risks; you can and should seek your own counsel, as I am sure he/she will tell you
       the same thing.

       If this alternative, more realistic, structure is acceptable in concept, let us know and hopefully we
       will figure out a path forward.

       Stephen



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       From: Ken Kayser <drkwkayser@gmail.com>
       Sent: Saturday, July 20, 2019 4:54:30 PM
       To: Stephen Stern <Stern@kaganstern.com>
       Cc: ronald.earley1@gmail.com <ronald.earley1@gmail.com>;ctravlr@comcast.net
       <ctravlr@comcast.net>; Robert R. Kracht (rrk@mccarthylebit.com) <rrk@mccarthylebit.com>;
       Nicholas R. Oleski (nro@mccarthylebit.com) <nro@mccarthylebit.com>; DouglasS. Draper
       (ddraper@hellerdraper.com) <ddraper@hellerdraper.com>; Leslie Collins
       <lcollins@hellerdraper.com>; Jonathan Kagan <kagan@kaganstern.com>
       Subject: Re: Tagnetics- Potential Settlement



       Steven
       As time is very short, you should consider this as our final offer. If your client agrees to these terms,
       we will send a letter to the judge indicating we have reached an agreement. This entire transaction
       must be completed, including the transfer of funds, in time to cancel the trial.

       We will agree to settle for an amount computed as if the contracts ended on 6/30/2017 without
       penalty.
       These calculations take into account the amount paid according to W2's received from Tagnetics.
       No benefits or unpaid expenses are claimed except for 10 months at $1400 of life insurance stipend
       included
       in the amount due Kayser. The totals we agree to settle for are:
       Ron Earley $186980
       Ken Kayser $151582
       Jon Hager $148144
       TOTAL       $486706

       The settlement agreement must include:
       A mutual release of all issues arising from our employment by Tagnetics, our role as directors of
       Tagnetics,
       and our participation in the petition for involuntary bankruptcy,

       An acknowledgement of Kayser's and Earley's stock ownership, confirmation of number of shares,
       and
       unrestricted shareholder's rights,

       Agreement that all provisions of our contracts, including non compete, have expired or are
       cancelled

       Acknowledgement of an outstanding loan from Ron Earley to Tagnetics, principal plus interest to be
       paid
       upon sale (to be defined) ofTagnetics. Principal is $30000 and current balance is approximately
       $60,000.

       Acknowledgement of KVL Core Technology License, $250,000 to be paid upon transfer, sale, or
       license of
       Tagnetics' shelf tag technology or the sale of the company,

       Acknowledgement of $315,000 of differed salary to be paid to Kayser upon sale of Tagnetics or
       other liquidity event.

       Kenneth W Kayser

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         Ronald E Earley
         Jonathon Hager

         On Fri, Jul19, 2019 at 4:14PM Stephen Stern <Stern@kaganstern.com> wrote:

          Ken:




          Following up on our conversation, this email identifies everyone who should be copied on
          email communications regarding potential settlement discussions. As I mentioned, I
          expect to have cell service when I am in Canada over the weekend and next week. In the
          event I do not, Tagnetics' other counsel are copied on this email and I have copied my
          partner, Jonathan Kagan, who I will bring up to speed in case he needs to step in with any
          communications with Tagnetics.




          Also, just so you have it in case you need to reach me to talk, my cell is (443) 924-0372.




          Thank you,

          Stephen




           <imageoo3.png>   Stephen B. Stern, Esq.
                            stern@kaganstern.com



                            Kagan Stern Marinello & Beard, LLC
                            (410) 793-1610 (direct)

                            (410) 216-7900, ext.1009

                            (410) 705-0836 (fax)
                            238 West Street
                            Annapolis, Maryland 21401
                            www.kaganstern.com




Jon
540-529-6887



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Jon
540-529-6887




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